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                          UNITED STATES DISTRICT COURT

                            DISTRICT OF SOUTH DAKOTA

                                 SOUTHERN DIVISION



 UNITED STATES OF AMERICA,                              4:23-CR-40046-KES

          Plaintiff,
                                                ORDER ADOPTING REPORT &
    vs.                                      RECOMMENDATION AND SENTENCING
                                                   SCHEDULING ORDER
 JEFFREY MICHAEL BAKER,

          Defendant.


      On February 26, 2024, defendant, Jeffrey Michael Baker, appeared before

Magistrate Judge Veronica Duffy for a change of plea hearing. Magistrate Judge Duffy

issued a report recommending the court accept defendant’s plea to Count 1 of the

Indictment. Count I of the Indictment charges Baker with Distribution of a Controlled

Substance, in violation of 21 U.S.C. § 841(a)(1). Both parties waived any objection to

the report and recommendation. Upon review of the record in this case, it is

      ORDERED that the report and recommendation (Docket 38) is adopted. The

defendant is adjudged guilty of Distribution of a Controlled Substance, in violation of

21 U.S.C. § 841(a)(1).

      It is FURTHER ORDERED that the sentencing hearing in this matter will be

held on May 24, 2024, at 10:00 a.m. in Sioux Falls Courtroom 2.

      Dated February 26, 2024.

                                  BY THE COURT:


                                  /s/ Karen E. Schreier
                                  KAREN E. SCHREIER
                                  UNITED STATES DISTRICT JUDGE
